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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PAUL ANDRE CUEVAS,

          Plaintiff,
                                                      CASE NO.: 3:17-cv-00694-JWD-RLB
v.

CAPITAL ONE, N.A.,

          Defendant.
                                       /

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          Plaintiff Paul Andre Cuevas (“Plaintiff”) and Defendant Capital One, N.A. (“Capital One”)

(collectively, the “Parties”), by and through undersigned counsel, hereby stipulate that all claims

in this action be dismissed in their entirety with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), with each party to bear its own attorneys’ fees, costs, and expenses. A

proposed Order is attached hereto as Exhibit “A.”



Respectfully submitted this 29th day of August, 2018.




                                               /s/ Eli J. Hare
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                                           -and-


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